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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-108 (PAM/TNL)

    UNITED STATES OF AMERICA,                )
                                             )
                       Plaintiff,            )
                                             )   GOVERNMENT’S
                v.                           )   CONSOLIDATED
                                             )   RESPONSE TO DEFENDANTS’
    2.    TOU THAO,                          )   MOTIONS IN LIMINE
    3.    J. ALEXANDER KUENG, and            )
    4.    THOMAS KIERNAN LANE,               )
                                             )
                       Defendants.           )


         COMES NOW the United States of America, by and through its undersigned

attorneys, Charles J. Kovats, Jr., Acting United States Attorney for the District of

Minnesota; Manda M. Sertich, Assistant U.S. Attorney; and Samantha Trepel, Special

Litigation Counsel for the Civil Rights Division, and responds to the motions in limine

filed by the defendants, Tou Thao, J. Alexander Kueng, and Thomas Kiernan Lane.

                                     I. Introduction

         In May 2021, a federal grand jury returned an Indictment charging Derek Chauvin,

Tou Thao, J. Alexander Kueng, and Thomas Kiernan Lane, all former police officers at the

Minneapolis Police Department (“MPD”), with violations of 18 U.S.C. § 242. Count One

charged defendant Chauvin with acting under color of law to willfully deprive George

Floyd of the right, secured by the United States Constitution, to be free from the

unreasonable force of a police officer. 1 Count Two charges defendants Thao and Kueng


1
    Defendant Chauvin pleaded guilty to Count One on December 15, 2021.
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with acting under color of law to willfully deprive George Floyd of the right, secured by

the United States Constitution, to be free from the unreasonable force of a police officer,

by failing to intervene to stop former Officer Derek Chauvin’s use of unreasonable force.

Count Three charges all three defendants with acting under color of law to willfully deprive

Mr. Floyd of the right, secured by the United States Constitution, to be free from a police

officer’s deliberate indifference to his serious medical needs, by seeing Mr. Floyd lying on

the ground in clear need of medical care, and willfully failing to aid him. The Indictment

further alleges that both offenses resulted in bodily injury to and the death of Mr. Floyd

The defendants have filed motions in limine, which are addressed below.

                                II. Response to Motions

       A. Motions in Limine for Additional Peremptory Challenges: ECF Nos. 145
          (Lane) and 157 (Thao).

       Defendants Thao and Lane seek additional peremptory challenges based on the

amount of publicity associated with this case.       Thao seeks an unknown number of

additional defense challenges and Lane seeks 10 additional challenges for each defendant.

The government objects.

       The Federal Rules of Criminal Procedure provide for a specific number of

peremptory strikes in a multi-defendant criminal trial, namely that “[t]he government has

6 peremptory challenges and the defendant or defendants jointly have 10 peremptory

challenges . . . .” See Fed. R. Crim. P. 24(b)(2). While the Rule provides that the Court

may provide additional peremptory challenges to multiple defendants, there is no




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constitutional right to peremptory challenges in the first instance. See United States v.

Martinez-Salazar, 528 U.S. 304, 311 (2000).

       First, neither defendant explains how pre-trial publicity requires additional

peremptory strikes in this case. Simply because a juror has been exposed to pretrial

publicity does not mean that the juror is automatically prejudiced or biased. “Prominence

does not necessarily produce prejudice, and juror impartiality, [the Supreme Court] ha[s]

reiterated, does not require ignorance.” Skilling v. United States, 561 U.S. 358 (2010)

(citing cases); see also Irvin v. Dowd, 366 U.S. 717, 722 (1961) (explaining that jurors are

not required to be “totally ignorant of the facts and issues involved”; “scarcely any of those

best qualified to serve as jurors will not have formed some impression or opinion as to the

merits of the case”). Without specific justification, a grant of additional peremptory

challenges would present an inappropriate opportunity to strike disproportionally those

jurors who are generally unfavorable to one party, as opposed to those who are unfit for

some reason to serve on this particular jury.

       Second, defendants do not explain why the extensive juror questionnaire agreed

upon by the parties and disseminated by the Court was insufficient—when combined with

the Court’s review of “for cause” strikes, voir dire, and the exercise of the 10 peremptory

strikes contemplated by the rules—to ensure that those unfit to serve by virtue of pre-trial

publicity are removed from the panel. One of the primary purposes of the extensive juror

questionnaire was to inquire about jurors’ preconceived notions and exposure to media

related to the case, and allow for additional voir dire to follow up about any issues. In

fact, many potential jurors have expressly stated that they do not feel that they can be fair—


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including some based on pre-trial publicity—and have already been struck from the

potential pool of jurors for cause. Further, defendants do not explain why the Court’s

process for reviewing “for cause” challenges would not address any juror who has been so

tainted by pre-trial publicity as to be unfit to serve on this jury. Given that there is no

reason why this case would necessitate additional peremptory challenges and in light of the

delay that would be caused, the Court should deny defendant’s motions.

       Third, the risk of rendering the jury unrepresentative by expanding the number of

peremptory challenges is even more significant where a single party has the ability to

exercise a large—and disproportionate—number of peremptory challenges. Should the

Court grant defendants’ motions and give each defendant 10 challenges, three times the

number contemplated by the Rule, the government would request a proportional number

of additional challenges in order to ensure the selection of a jury that is fair to all parties.

If the government were not provided these additional challenges, as well, the jury would

be selected disproportionately by one party. To accommodate such an expansion of the

number of challenges would require the Court to have an unusually large panel from which

the parties would exercise their strikes.

       In sum, neither defendant addresses why it is insufficient for the Court to use an

extensive jury questionnaire, combined with voir dire, the opportunity to make “for cause”

challenges, and 10 peremptory challenges. These extensive procedures already in place

should sufficiently allow the parties to identify and strike any juror who has been so tainted

by pre-trial publicity that they are unfit to serve on this jury. The defendants’ requested




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additional peremptory challenges are unnecessary and would result in a longer jury

selection process. Defendants’ motions should be denied.

       B.   Notice of Intent To Offer Pertinent Trait Character Evidence: ECF No.
            146 (Lane).

       Defendant Lane provides notice of intent to offer, pursuant to Federal Rules of

Evidence 404(a)(2)(A), 405(b), and 406, body-worn camera footage (with a corresponding

transcript) of him helping a homeless Black man in a wheelchair. Defendant Lane argues

this evidence is admissible as evidence of “his pertinent trait of character for empathy,

compassion, and being a good Samaritan police officer” in order to demonstrate “that Lane

did not with criminal intent assist in the murder of George Floyd.” 2

       The government objects. The proffered evidence does not relate to a pertinent trait

and is offered in an inadmissible form. First, the wheelchair-incident evidence is not

relevant to a “pertinent trait,” as Rule 404(a)(2)(A) requires. That Lane helped push a

man in a wheelchair on January 23, 2020, makes it no more or less likely that he willfully

failed to provide medical aid to Mr. Floyd on May 25, 2020, as charged in the Indictment.

See, e.g., United States v. Navedo-Ramirez, 781 F.3d 563, 569 (1st Cir. 2015) (affirming

district court’s exclusion of evidence of defendant-officer’s general competence as an



2
  The government notes that it is not required to prove that any defendant had “criminal
intent [to] assist in the murder of George Floyd.” Instead, the government must prove that
the defendant knew that Mr. Floyd had a serious medical need and that failing to provide
medical aid to Mr. Floyd was wrong, and that he failed to do it anyway. See 18 U.S.C.
§ 242; United States v. Gonzales, 436 F.3d 560, 573 (5th Cir. 2006) (setting out the
elements of a § 242 deliberate indifference charge); United States v. Cowden, 882 F.3d
464, 474 (4th Cir. 2018) (discussing willfulness in a § 242 case).


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officer and citing cases holding that evidence of a defendant’s general competence,

dedication, or commendations received as a police officer is not admissible because it is

not evidence of a “pertinent” character trait). Such evidence “is of slight probative value

and may be very prejudicial” because it “tends to distract the trier of fact from the main

question of what actually happened on the particular occasion.”           Fed. R. Evid. 404

Advisory Comm. Note (internal quotation marks omitted).

         Even if the wheelchair-incident evidence were relevant to a pertinent character trait,

it is inadmissible because it does not take the form of “testimony about the person’s

reputation” or “testimony in the form of an opinion” as Rule 405(a) requires.          Fed. R.

Evid. 405(a). Because a defendant’s character is not an essential element to a charge or

defense under 18 U.S.C. § 242, it may not be proved by specific instances of conduct under

Rule 405(b). As defendant Lane notes, he seeks to offer the wheelchair incident as

“circumstantial evidence.” ECF No. 146 at 1. However, “[w]hen character is used

circumstantially and hence occupies a lesser status in the case, proof may be only by

reputation and opinion.” Fed. R. Evid. 405 Advisory Comm. Note; see also United States

v. Koessel, 706 F.2d 271, 275 (8th Cir. 1983) (“Character testimony is limited to the

reputation of a defendant, not to specific instances of behavior.”). Likewise, because the

wheelchair incident is evidence of a single specific instance, it does not constitute evidence

of defendant Lane’s “habit” and is thus not admissible under Federal Rule of Evidence

406. 3 The Court should not admit the evidence noticed by the defendants.


3
    Photographs of the defendant volunteering and a video clip of him receiving an award—


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       C. Motions in Limine To Strike Surplusage: ECF Nos. 148 (Lane) and 155
          (Kueng).

       Defendant Lane moves the Court for an order striking the second sentence of

paragraph 4 of the Indictment, see ECF No. 148, which reads, “[defendant Lane] began

working as an MPD officer in December 2019.” ECF No. 1. Similarly, defendant Kueng

moves the Court for an order striking the corresponding language relevant to him in

Paragraph 3. These motions were previously filed as pretrial motions (see ECF Nos. 70,

87, 88-89, 124), and were denied without prejudice by the Magistrate Court. See ECF No.

130.     The Magistrate Court denied the defendants’ motions because:

               (a) the allegations are not false and the language is not
               inflammatory; (b) the allegations are relevant to the counts
               charged; and (c) any potential prejudice by the inclusion of this
               language is outweighed by the allegations’ relevance.

ECF No. 130 at 4-5. Defendants provide no new facts or law that would support a

different result.

       Defendant Kueng relies on arguments made in his previous filings, see ECF No.

155 at 1, and argues that while paragraph 3 of the Indictment may be “technically accurate,”

it is “misleading and prejudicial because in reality Mr. Kueng had not yet completed his

3rd shift following his field training as a Minneapolis Police Officer.” ECF No. 87 at 1.

According to defendant Kueng, officers in field training, which defendant Kueng began in




potential exhibits emailed by defense counsel to the government on January 6, 2022—are
also inadmissible for the same reasons: they are not relevant to a pertinent character trait,
as Rule 404(a)(2)(A) requires; they do not take the form of opinion or reputation testimony,
as Rule 405(a) requires; and they are not proper Rule 406 evidence. The government will
address these photographs and video more specifically in a separate motion to exclude.

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December 2019, are not “considered” to be officers by “the rank and file of the Minneapolis

Police Department.” ECF No. 87 at 1-2. Rather, they are referred to by “rank and file”

officers as “recruits” or “boots.” Id. at 2. Defendant Kueng argues that the statement in

the Indictment regarding the length of his employment with the Minneapolis Police

Department is misleading and prejudicial and will be unfairly prejudicial if it is presented

to the jury in an “official court document.” Id.

       Defendant Lane argues that the language of the second sentence of paragraph 4 of

the Indictment “gives a false portrayal” of defendant Lane’s employment because the “true

whole story is Thomas Lane was sworn in as a police officer RECRUIT on December 10,

2020, however not until May 21, 2020, was he not a RECRUIT.” ECF No. 148.

       Pursuant to Fed. R. Crim. P. 7(d), “upon the defendant’s motion, the [C]ourt may

strike surplusage from the indictment or information.” However, the Eighth Circuit has

held that such motions should be granted in limited circumstances and “only where it is

clear that the allegations contained therein are not relevant to the charge made or contain

inflammatory and prejudicial matter.” United States v. Michel-Galaviz, 415 F.3d 946, 948

(8th Cir. 2005) (quoting Dranow v. United States, 307 F.2d 545, 558 (8th Cir. 1962)).

Other courts have concluded that “if the language in the Indictment is information which

the government hopes to properly prove at trial, it cannot be considered surplusage no

matter how prejudicial it may be.” United States v. Lov-It Creamery, 704 F. Supp. 1532,

1550-51 (E.D. Wis. 1989) (citing United States v. Climatemp, Inc., 482 F. Supp. 376, 391

(N.D. Ill. 1979), aff’d, 705 F.2d 461 (7th Cir.1983)).




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       The government intends to prove at trial that defendants Kueng and Lane were

sworn officers as of December 2019, and thereafter carried service weapons and went on

hundreds of calls for service during the first several months of 2020. 4 Defendant Kueng

himself admits that the language used in the Indictment is “technically accurate.”

Regardless of the colloquial language used by MPD officers to refer to their newest

colleagues, it does not change the fact that former officers Kueng and Lane were, in fact,

officers of the Minneapolis Police Department beginning in December 2019.

       To the extent that defendants Kueng and Lane contest the accuracy of the statements

made in paragraphs 3 and 4 of the Indictment, that objection is insufficient to justify the

relief they seek. “[W]hether the allegations in an indictment are ‘accurate or truthful’ is a

matter for the jury to decide” and a court “cannot determine, on a motion to strike, ‘whether

the [allegations] in the indictment are true.’” United States v. Ledbetter, No. 2:14-CR-

127, 2015 WL 5029249, at *1 (S.D. Ohio Aug. 26, 2015) (citing United States v. Tomero,

496 F. Supp. 2d 253, 255 (S.D.N.Y. 2007)).

       The challenged statements regarding the duration of defendants’ employment with

the Minneapolis Police Department are relevant to the charges against defendant Kueng in

Counts 2 and 3 and against defendant Lane in Count 3. The government will be required

to prove at trial that the defendants acted willfully—that is, that they intentionally

committed the constitutional violations alleged in the Indictment, knowing that a


4
  This evidence will include employment records from the Minneapolis Police Department
summarizing each former officer’s rank history. See ECF No. 127 Exs. A, B. These
records show that defendants Kueng and Lane began in the role of “Police Recruit” on
August 14, 2019, and as “Police Officer” on December 10, 2019.

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reasonable officer would not have done so. See United States v. Harrison, 671 F.2d 1159,

1161-62 (8th Cir. 1982).       The fact that defendants Kueng and Lane were actively

employed as officers with the Minneapolis Police Department—whether they were referred

to by other officers as “recruits” or “officers”—for approximately five months before the

events alleged in the Indictment, is relevant to an element of the charged offense and to

their state of mind regarding the defendants’ acts and omissions in this case.

       Finally, it is difficult to imagine how a concededly accurate statement of the

defendants’ dates of employment could be considered “inflammatory” or unfairly

“prejudicial.” See United States v. Bou, No. 85 CR. 1165 (LLS), 1986 WL 4081, at *3

(S.D.N.Y. Mar. 28, 1986) (denying motion to strike statement from indictment that

defendant, a member of the Federal Protective Service, was a “police officer,” where

defendant argued the characterization was inaccurate, because such a statement is “not

unduly inflammatory and prejudicial”).

       For all of these reasons, defendants Kueng and Lane’s motions in limine to strike

surplusage should be denied.

       D. Motion in Limine Regarding Speculative Testimony: ECF No. 150
          (Kueng).

       Defendant Kueng moves the Court to prohibit government lay witnesses from

offering speculative testimony about how they would have acted had they been in the place

of the defendant officers.     See ECF No. 150.       The government objects insofar as

defendant Kueng’s motion suggests that only a witness with personal knowledge may offer

an opinion as to or based on what he or she perceives on the video. The government agrees



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insofar as defendant Kueng’s motion suggests that no expert or lay witness may testify

about whether they would or would not personally have used such force, intervened in the

use of force, or rendered medical aid.

       E. Motion in Limine To Limit Testimony of Medical Personnel: ECF No. 151
          (Kueng).

       Defendant Kueng moves the Court for an order preventing paramedics from

Hennepin County EMS from testifying about whether Mr. Floyd was dead or alive when

they arrived on scene. ECF No. 151 at 1. Defendant Kueng appears to argue: (1) such

evidence will be admitted as opinion testimony rather than as testimony based on personal

knowledge, and therefore is impermissible (citing Fed. R. Evid. 602, 702); and (2) such

evidence is not relevant and, therefore, the prejudicial value outweighs the probative value

of the evidence (citing Fed. R. Evid. 403). ECF No. 156 at 2-3.

       Defendant Kueng’s motion should be denied. The paramedic witnesses in this case

will not provide expert opinions regarding Mr. Floyd’s medical status. They will testify

regarding the events of May 25, 2020, including but not limited to their recollections of

Mr. Floyd’s condition, their interactions with law enforcement officers and others on scene

and after departing the scene, and the treatment they provided to Mr. Floyd.            The

paramedics’ observations that Mr. Floyd was “dead” are based on personal knowledge—

knowledge, as the government anticipates they will testify, that upon their arrival Mr. Floyd

did not have a pulse, was not breathing, and had dilated pupils, all of which led to the

conclusion that Mr. Floyd was deceased. Defendant Kueng argues that the “paramedics’

efforts after removing Mr. Floyd contradict their impression that Mr. Floyd was dead at the



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scene.”   Id.   The government expects that evidence at trial will establish that the

resuscitative efforts undertaken or directed by the paramedics, including CPR and the use

of a LUCAS device, are often performed on patients who are, in the paramedics’

estimation, “dead” —meaning that they are not breathing and have no pulse—in an effort

to resuscitate them. To be clear, that a person is “dead,” in the parlance of paramedics,

does not mean that they cannot be resuscitated. 5         It means that, absent medical

intervention, that person cannot survive; with medical intervention, that person may be

resuscitated.

       The United States must prove beyond a reasonable doubt that the charged offenses

resulted in Mr. Floyd’s death. Consequently, the fact and timing of Mr. Floyd’s death is

highly relevant to the elements to be proven at trial. Any prejudice that could arise from

a paramedic’s testimony regarding Mr. Floyd’s status of being dead or alive is greatly

outweighed by the probative value of such evidence. See Fed. R. Evid. 403. Indeed,

defendant Kueng has not even attempted to explain how such testimony would be unfairly

prejudicial. United States v. Farrington, 499 F.3d 854, 859 (8th Cir. 2007) (“Evidence is

not unfairly prejudicial because it tends to prove guilt, but because it tends to encourage

the jury to find guilt from improper reasoning. Whether there was unfair prejudice depends

on whether there was an undue tendency to suggest decision on an improper basis.”).

       For all of these reasons, defendant Kueng’s motion should be denied.


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  The government anticipates presenting evidence that, as the defendants in this case were
trained, when a person is no longer breathing and does not have a pulse, one must act
quickly to provide potentially life-saving aid because a person’s chances of survival drop
significantly over minutes.

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       F. Motions in Limine To Limit Police Witness Testimony: ECF No. 152
          (Kueng) and 158 (Thao).

          1. Motion in Limine To Prohibit Improper Testimony Regarding
             Reasonableness and Willfulness: ECF Nos. 152 (Kueng) and 158 (Thao).

       Defendants Thao and Kueng move the Court for an order precluding witnesses from

testifying that the force used against Mr. Floyd was “lawful,” “reasonable,” or

“appropriate,” or from offering opinions about what force would be appropriate. ECF No.

152 at 1; ECF No. 158 at 1, 4-6. Defendant Kueng’s motion is limited to “non-expert

police witnesses;” defendant Thao’s motion is not so limited. Id. Defendant Thao also

moves for an order precluding testimony regarding the defendants’ mental state, including

whether any defendant, or former defendant Chauvin, acted willfully. ECF No. 158 at 1,

3-4.

       The Court exercising its critical gatekeeping function to determine the admissibility

of expert testimony requires a fact-specific inquiry. See Fed. R. Evid. 702; Daubert v.

Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). As a general matter, the government

agrees that opinion testimony—whether offered by a noticed expert under Federal Rule of

Evidence 702, or a lay witness under Federal Rule of Evidence 701—that a particular use

of force was lawful, reasonable, or appropriate (or that it was unlawful, unreasonable, or

inappropriate) under the Fourth Amendment; that a defendant did or did not willfully fail

to intervene; or that a defendant was or was not deliberately indifferent to Mr. Floyd’s


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serious medical needs, would constitute impermissible legal conclusions that would invade

the province of the jury. See, e.g., Schmidt v. City of Bella Villa, 557 F.3d 564, 570 (8th

Cir. 2009); Peterson v. City of Plymouth, 60 F.3d 469, 475 (8th Cir. 1995). Likewise, the

government agrees that no witness may opine as to whether a defendant committed acts or

omissions willfully. 6 Fed. R. Evid. 704(b) (“In a criminal case, an expert witness must

not state an opinion about whether the defendant did or did not have a mental state . . . that

constitutes an element of the crime charged. . . . Those matters are for the trier of fact

alone.”).

       The government respectfully requests that any order limiting the witnesses from

offering impermissible legal conclusions apply to both government and defense witnesses.

After the deadline for filing motions in limine, the government received reports containing

the opinions of expert witnesses retained by defendants Kueng and Lane. Both reports

contain impermissible legal conclusions of precisely the sort that the defendants have

moved here to exclude. 7   See, e.g., Report of Steve Ijames at 2, 10 (opining that defendant

Kueng “did not willfully deprive Mr. Floyd of the right to be free from an unreasonable

seizure,” and that his “failure to provide medical aid to Mr. George Floyd was not the result

of deliberate indifference”); Report of Greg Meyer at 14 (opining that defendant Lane “was

not deliberately indifferent to Mr. Floyd’s serious medical needs”).         These opinions


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  The government notes that former defendant Chauvin’s willfulness is no longer at issue,
because, unlike the reasonableness of his use of force, Chauvin’s willfulness is not an
element the government must establish to prove the remaining charges.
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  The government anticipates separately filing a motion to exclude certain opinions
contained in these reports.

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constitute conclusions regarding elements of the crimes charged, and therefore the defense

witnesses should be precluded from testifying to these opinions, as such testimony would

invade the province of and would not be helpful to the jury.

       Witnesses instead may offer opinions regarding specific factual building blocks that

support ultimate legal conclusions such as reasonableness and willfulness. Cf., e.g.,

United States v. Perkins, 470 F.3d 150, 156 (4th Cir. 2006). This may include testimony

as to whether a defendant’s conduct was consistent or inconsistent with MPD policy and

training and generally accepted police practices. See, e.g., S. Pine Helicopters, Inc. v.

Phoenix Aviation Mgrs, Inc., 320 F.3d 838, 841 (8th Cir. 2003) (expert testimony on

“industry practice or standards may often be relevant”); K.W.P. v. Kansas City Pub. Sch.,

296 F. Supp. 3d 1121, 1127 (W.D. Mo. 2017) (permitting expert testimony “about the

appropriateness of the handcuffing under the circumstances in light of his law enforcement

training experience”); Thomas v. Barze, 57 F. Supp. 3d 1040, 1059 (D. Minn. 2014)

(explaining that an expert “can testify to his opinion about whether a certain action by [a

defendant-officer] in a certain circumstance, assuming that those are the facts, would be

consistent with police practices”).

          2. Motion in Limine To Preclude Expert Witnesses from Referencing Otherwise
             Inadmissible Evidence: ECF No. 158 (Thao).

       Defendant Thao moves this Court for an order precluding the government’s expert

witnesses from testifying about the content of otherwise inadmissible evidence the

witnesses relied on in forming their opinions. The government does not object to this

motion with respect to out-of-court statements and testimony, and respectfully requests that



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the Court prohibit all witnesses, including witnesses for the defense, from testifying about

statements by witnesses and parties that would otherwise be inadmissible. 8

       Expert witnesses, as defendant Thao points out, may present a special danger in this

regard, as they frequently rely on hearsay statements in order to form their opinions. The

government agrees. The use of expert testimony does not permit a party to make an end-

run around the Rules of Evidence. In particular, the government notes that in the expert

reports submitted by defendants Kueng and Lane, both experts discussed statements made

by the defendants. See, e.g., Report of Steve Ijames at 9, 11 (Jan. 3, 2022) and Report of

Steve Ijames at 11-12 (Feb. 22, 2021) (both discussing statements defendant Kueng made

to Mr. Ijames to aid in the preparation of the reports); Report of Greg Meyer at 11-12 (citing

defendant Lane’s voluntary BCA interview).           At trial, Federal Rule of Evidence

801(d)(2)(A) permits the government to offer such statements into evidence, but prohibits

the defendant from doing so. If the defendants wish to elicit this evidence, they must take

the stand, testify under oath, and subject themselves to cross-examination. See United



8
  Experts should, however, consistent with Federal Rule of Evidence 703, be permitted to
disclose the bases of their opinions where the facts or data they rely on are otherwise
admissible, or consist of facts and data an expert in the field would reasonably rely on in
forming an opinion, where their probative value in helping the jury evaluate that opinion
substantially outweighs any prejudicial effect the evidence may have. Thus, for example,
a medical examiner or medical expert should be permitted to testify regarding medical
histories and results of medical tests where they have reasonably relied on such medical
records in forming their opinions. See, e.g., Fed. R. Evid. 703 & Advisory Committee
Note (explaining that a “source contemplated by the rule consists of presentation of data to
the expert outside of court and other than his own perception”; providing as an example “a
physician” who bases his or her “diagnosis on information from numerous sources and of
considerable variety, including statements by patients and relatives, reports and opinions
from nurses, . . . hospital records, and X rays”).

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States v. McDaniel, 398 F.3d 540, 545 (6th Cir. 2005) (prohibiting the defendant from

eliciting his own statements through another witness because to do so would allow him to

“effectuate an end-run around the adversarial process by, in effect, testifying without

swearing an oath, facing cross-examination, or being subjected to first-hand scrutiny by

the jury”).

              3. Motion in Limine To Prohibit Expert Witnesses from Instructing the Jury on
                 the Legal Standard Governing Uses of Force: ECF No. 158 (Thao).

       Defendant Thao moves this Court for an order prohibiting government witnesses

from instructing the jury on the law. ECF No. 158 at 7-8. The government has no

objection to this motion, and respectfully requests that any such order apply to all parties’

witnesses. Only the Court can instruct the jury on the law. Further, defendant Thao

asserts, and the government agrees, that “[w]hether or not the defendants violated or

adhered to Minnesota law is irrelevant” to the charges at issue, see ECF No. 158 at 7,

because the defendants are charged with violating Mr. Floyd’s federal rights, specifically

his Fourth and Fourteenth Amendment rights.

       That said, the MPD use of force policy and training on that policy specifically

incorporate Fourth Amendment standards. The policy reads, “[b]ased on the Fourth

Amendment’s ‘reasonableness’ standard, sworn MPD employees shall only use the amount

of force that is objectively reasonable in light of the facts and circumstances known to that

employee at the time force is used. The force used shall be consistent with current MPD

training.” See MPD Code of Conduct and Use of Force, 5-301.01 Policy (10/16/2002)

(08/17/07). Although no witness should instruct the jury on the legal standard that applies



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to the charges in this case, nor opine on whether or not the defendants acted consistently

or inconsistently with the law, witnesses should be permitted to testify about the relevant

MPD policies governing the defendants’ conduct and the content of the training they

received.

       This information is relevant and admissible as it will demonstrate that the

defendants had the knowledge and training to recognize that, in kneeling on Mr. Floyd’s

neck for more than nine minutes, former officer Chauvin used force that was far outside of

the bounds of what was permitted by MPD policy and training. This in turn is relevant to

proving that their failure to protect Mr. Floyd from that force was willful, an element of

the charged offense. See, e.g., United States v. Proano, 912 F.3d 431, 439 (7th Cir. 2019)

(“We have before recognized that evidence of departmental policies can be relevant to

show intent in § 242 cases. Other circuit courts have as well. Those decisions, expressly

or impliedly, acknowledge that an officer’s training can help inform his state of mind in

certain circumstances. . . . If, as here, an officer has been trained that officers should not

do several things when confronted with tense situations, yet he does those things anyway,

the fact that he broke from his training could make it more likely that he acted willfully.”)

(citations omitted); United States v. Brown, 654 F. App’x 896, 904 (10th Cir. 2016) (“The

fact that Defendants were present during . . . training sessions . . . shows that Defendants

were aware that official protocol limited the use of force to instances when an inmate was

acting in a threatening manner. That Defendants disregarded their training on the

appropriate use of force is admissible to show that Defendants acted willfully [under

§ 242].”).


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            4. Motion To Exclude Expert Testimony Purporting To Resolve a Disputed
               Factual Issue: ECF No. 158 (Thao).

       Defendant Thao moves the Court to preclude experts from testifying in a manner

that “purport[s] to resolve a disputed factual issue.” ECF No. 158 at 8. Again, the

government has no objection and respectfully requests that any such order apply equally to

expert witnesses called by the defendants. The jury is the fact finder and will determine

any disputed facts based on the evidence received by the Court. In this case, in part due

to the sheer volume of video evidence available, there are likely to be fewer issues of

disputed fact than in many cases. Instead, disputes will likely center around whether the

tactics used and decisions made by the defendants were consistent with MPD policies and

training.

       In order to offer meaningful opinions that assist the jury, use of force experts for the

parties should be permitted to testify that, based on the facts as an expert understands or

assumes them to be, a particular action, tactic, or decision was consistent or inconsistent

with MPD policies and training or generally accepted police practices—but not what those

underlying facts are. See Thomas v. Barze, 57 F. Supp. 3d 1040, 1059 (D. Minn. 2014)

(“[T]here is a critical distinction between an expert testifying that a disputed fact actually

occurred or that one witness is more credible than another and an expert giving an opinion

based upon factual assumptions, the validity of which are for the jury to determine. The

former is manifestly improper, the latter is not.”) (internal quotations omitted) (quoting

Richman v. Sheahan, 415 F. Supp. 2d 929, 942 (N.D. Ill. 2006)).




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           5. Motion To Prohibit Witnesses from Offering Opinions as to the
              Physiological Effects of Prone Positioning: ECF No. 152 (Kueng).

       Finally, defendant Kueng moves this Court to prohibit “non-expert police witnesses

. . . from offering opinions” regarding the “physiological effects of prone positioning.”

ECF No. 152 at 1. The government objects, in part, to this motion. The government

agrees that non-medical witnesses may not be qualified to testify about the precise effects

that being restrained in the prone position has on a person’s ability to breathe, such as the

effects of preventing the diaphragm’s ability to move, and the effects that the resulting

shallow or insufficient breathing may have on a person’s level of oxygenation and vital

organs over time. However, that MPD trains its officers to immediately move a person

out of the prone position after handcuffing and gaining control of them, and that MPD

trains its officers that leaving a person in the prone position increases the risk that a person

will have difficulty breathing, is relevant to proving that the defendants (who, it will be

established, also received this training) acted willfully in failing to move Mr. Floyd out of

the prone position and into a position in which he could breathe sufficiently. 9 MPD

officers should be permitted to testify about the extent and content of their training. This

will however, take the form of fact and not opinion testimony.




9
  The government has noticed the officer who provides medical training to MPD officers
and recruits as an expert witness. She is qualified and should be permitted to testify about
the effects of prone positioning in detail, including by offering opinion testimony when
appropriate.

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       G. Motion in Limine To Limit Expert Medical Testimony: ECF No. 153
          (Kueng).

       Defendant Kueng moves the Court for an order prohibiting the government from

calling multiple physician experts during its case in chief. He argues that such evidence

will be cumulative and a waste of time, which will distract jurors from the actions of the

defendants. ECF No. 156 at 3-4. But as defendant Kueng himself noted in a separate

motion in limine, “The issue before the jury is whether Mr. Floyd died as a result of the

actions of the defendants while acting under color of law[.]” ECF No. 156 at 3 (defendant

Kueng Memorandum in Support of in limine motions). Defendants Thao, Kueng, and

Lane have not stipulated to Mr. Floyd’s cause and manner of death. Nor have defendants

Thao, Kueng, and Lane stipulated that their actions and inactions contributed to or caused

Mr. Floyd’s death. Despite the absence of such stipulations regarding this central issue of

fact, defendant Kueng moves this Court to limit the government’s presentation of its

medical experts to a single witness—Dr. Andrew Baker, the Hennepin County Medical

Examiner. In his legally bare motion, defendant Kueng argues that the government will

use “multiple physicians whose testimony will be cumulative,” which will “cause delay

and be a waste of time.”     ECF No. 156 at 3-4.       Additionally—and contrary to his

acknowledgement that whether Officer Chauvin’s actions and the defendants’ actions and

inactions resulted in Mr. Floyd’s death is an issue that must be proved at trial—defendant

Kueng argues that such “evidence will mislead the jury by over emphasizing issues

surrounding Mr. Floyd’s death.” Id. at 4. The government does not intend to provide

impermissible cumulative testimony in its case-in-chief, and believes that testimony from



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its medical experts will aid the jury in reaching a well-reasoned conclusion. Even in the

presence of a series of stipulations, the government is entitled to attempt to meet its burden

of proof through the presentation of its own evidence. See Old Chief v. U.S., 519 U.S.

172, 189 (1997). As defendant Kueng provides the Court no aid or argument to detail how

testimony from the government’s medical experts would be unnecessarily cumulative or

irrelevant, the government asks this Court to deny the motion.

       Elements of a crime must be charged in an indictment and proved to a jury beyond

a reasonable doubt. Hamling v. United States, 418 U.S. 87, 117 (1974). The government

bears the heavy burden of proving each element of a count beyond a reasonable doubt, and

the failure to prove any element beyond a reasonable doubt requires acquittal. United

States v. O’Brien, 560 U.S 218 (2010). Here, inter alia, the government must prove that

Chauvin’s unreasonable force resulted in Mr. Floyd’s bodily injury and death (Count 2),

and that defendants Thao, Kueng, and Lane were deliberately indifferent to Mr. Floyd’s

serious medical needs, which resulted in Mr. Floyd’s bodily injury and death (Count 3).

Bodily injury or death “results from” a defendant’s conduct where, but for the defendant’s

conduct, it would not have happened. See Burrage v. United States, 571 U.S. 204, 211,

216 (2014). The government does not need to prove that a defendant intended for Mr.

Floyd to suffer injury or to die. See, e.g., Whitley v. Albers, 475 U.S. 312, 319 (1986).

Nor does the government need to prove that a defendant’s conduct was the only cause of

Mr. Floyd’s bodily injury or death. Rather, their conduct is a but-for cause of bodily injury

or death if it played an indispensable, even if “incremental,” role in causing the injury or

death — “if, so to speak, it was the straw that broke the camel’s back.” Burrage, 571 U.S.


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at 211; see also Bostock v. Clayton Cty., 140 S. Ct. 1731, 1739 (2020) (explaining that

“[o]ften, events have multiple but-for causes,” and thus “a defendant cannot avoid liability

just by citing some other factor”).

       To carry its burden and prove but-for causation beyond a reasonable doubt, the

government intends to call expert medical witnesses who specialize in the following fields:

(1) pulmonology and critical care; (2) emergency medicine; (3) toxicology; and

(4) cardiology. This does not mean that the government anticipates it will need to call

separate expert medical witnesses in each field.         For example, the government’s

emergency medical expert also holds a board certification in medical toxicology from the

American Board of Emergency Medicine; the pulmonologist and critical care doctor will

explain that he commonly encounters and evaluates cardiac issues. 10          These expert

witnesses will explain how Mr. Floyd died due to low oxygen from the restraint; how and

why, if Mr. Floyd been placed in the side recovery position before he was rendered

unconscious, he would have regained a sufficient level of oxygen and would not have died;

how and why, once he no longer had a pulse, Mr. Floyd’s chances at resuscitation would

have significantly improved had the officers performed CPR when Mr. Floyd lay on the

ground; how and why Mr. Floyd’s coronary artery disease was not the primary cause of his

death; and how and why Mr. Floyd’s substance use was not the primary cause of his death.



10
   Although the government does not currently intend to call separate medical experts in
each specialty, the specific witnesses the government intends to call cannot be determined
at this juncture, as it remains unclear exactly how and to what extent the defense plans to
challenge the cause and manner of death determination.


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       Defendant Kueng suggests—without evidence—that Dr. Baker “can properly

testify to the manner and cause of death.” ECF No. 156 at 4. Dr. Baker’s expertise lies

in forensic and clinical pathology, which focuses on determining the cause of death through

the examination of the body of the deceased. During the state trial of defendant Chauvin,

Dr. Baker testified as to the limitations of his expert knowledge 11:

              Attorney:     As a forensic pathologist, it’s not part of what you do
                            within the four corners of your job to try to calculate
                            what Mr. Floyd’s either lung volumes or oxygen
                            reserves, or that sort of thing would have been, is it—
              Dr. Baker:    I think what you’re getting at, counselor, is the sort of
                            thing that I would defer to a pulmonologist. Those are
                            obviously things we can’t measure postmortem. In
                            living people, clearly, those things are the purview of
                            pulmonologists.

                            ….

              Attorney:     If the conduction system is impaired, what happens?
              Dr. Baker:    I’d have to defer to a cardiologist on that […]

                            ….

              Attorney:     When someone is hypoxic, does that cause that person
                            to breathe faster?
              Dr. Baker:    I honestly don’t know, again, it probably depends on the
                            nature of the asphyxia. I would defer any further
                            questions to a pulmonologist because they’re the
                            experts in breathing.
                            ….

              Attorney:     You’d agree that fentanyl is a respiratory depressant?
              Dr. Baker:    That’s my understanding, yes.
              Attorney:     And it slows breathing, resulting in lower oxygen
                            levels?
              Dr. Baker:    It can, yes.

11
  The following are excerpts from Dr. Baker’s trial testimony in State of Minnesota v.
Derek Michael Chauvin, File No. 27-CR-20-12646.

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              Attorney:     And similarly increasing the carbon dioxide; correct?
              Dr. Baker:    What it would do to carbon dioxide would be outside
                            the scope of my expertise. I would defer that to a
                            pulmonologist or maybe a toxicologist.

                            ….

              Attorney:     All right. The first time you testified in connection
                            with the death of Mr. Floyd, at any point do you recall
                            saying that I have to defer to some other specialty?
              Dr. Baker:    […]So the short answer to that is, yes. The long
                            answer is, I believe I deferred to a pulmonologist
                            repeatedly because there were so many questions about
                            things like radiations of chest wall movement and
                            would this, that or the other thing impair a person’s
                            ability to breathe. And at some point I clearly said,
                            look, this is outside the scope of my expertise as a
                            forensic pathologist. I think a pulmonologist would be
                            better equipped to answer that question. I’m going to
                            say I said the word “pulmonologist” at least a half a
                            dozen times in that testimony.
              Attorney:     Do you recall also deferring to emergency medical
                            doctors?
              Dr. Baker:    Again, it would depend on the context of the question.
                            But I know I did reference emergency medicine doctors
                            for some of the questions for, like, when do you think
                            Mr. Floyd really died?

                            ….

              Attorney:     Well, generally, regardless of the mechanism, would
                            you generally see symptoms consistent with hypoxia?
                            Would a person exhibit certain symptoms?
              Dr. Baker:    So symptoms is a little outside by bailiwick because
                            we’re talking about living people, and I don’t treat
                            living people who are suffering from hypoxia with any
                            cause.

       Since Dr. Baker’s medical expertise is understandably limited, the government must

present testimony from other medical experts to fill certain gaps necessary to the theory of

its case. Here, Dr. Baker has previously testified that not all deaths by asphyxiation—


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including asphyxiation due to compression—leave physical signs on the body. Testimony

by other medical experts to supplement Dr. Baker’s knowledge is not cumulative. Expert

testimony is unnecessarily cumulative when “there is ‘substantial overlap’ between the

areas on which two experts will testify.” Royal Bahamian Ass’n, Inc. v. QBE Ins. Corp.,

No. 10-21511-CV, 2010 WL 4225947 at *2 (S.D. Fla. Oct. 21, 2010) (internal citation

omitted).

       Moreover, the opinions of multiple experts are not cumulative where their expertise

and experience are different. See e.g., Michuda v. United States, No. 8:02CV85, 2003 WL

26111554 at *2 (D. Neb. Jun. 20, 2003). Courts in similar cases have allowed as many as

four experts, even where specialties overlap. See e.g., Garlick v. Cty. of Kern, Case No.

1:13-CV-01051-LJO-JLT, 2016 WL 1461841 at *4 (E.D. Cal. Apr. 14, 2016) (in civil

rights deliberate indifferent case, defendants permitted to present testimony from four

pathologists who had “overlapping opinions concerning the cause of death, [but] each ha[d]

a different background […] and arrive[d] at conclusions from the formation of different

processes.”); accord A.B. v. Cty. of San Diego, No. 18cv1541-MMA-LL, 2020 WL

4430971, at *9 (S.D. Cal. Jul. 31, 2020); see also, Royal Bahamian Ass’n, Inc. v. QBE Ins.

Corp., 2010 WL 4225947, at *2 (S.D. Fla. Oct. 21, 2010) (“[t]estimony on the same topic

by different experts . . . is not needlessly cumulative where the experts will testify from

different perspectives.”). Here, the government’s medical experts have distinct specialties

and will testify from different perspectives. Given this, the Court can be assured such

testimony will not be cumulative.




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       Finally, the government’s expert medical testimony will not mislead, confuse, or

distract the jury. This case involves complex medical facts and processes—where even

expert forensic pathologist Dr. Baker defers to others. The government’s expert medical

testimony will fully educate the jury about these medical facts and processes and bridge

the gaps necessary to prove its case. Here, the task is more arduous, as the government

must not only prove how Mr. Floyd died, but also how he could have lived. To accomplish

such a task, and meet its heavy burden, the government’s medical experts outlined herein

are necessary.    The government respectfully requests that the Court deny defendant

Kueng’s motion.

       H. Motion in Limine Regarding Presentation of Video Evidence: ECF No. 154
          (Kueng).

       Defendant Kueng moves the Court for an order prohibiting the government from

entering into evidence or relying on videos that combine officer body worn cameras (BWC)

with any bystander video. He also requests that the audio portion of any “combined

videos” be restricted to the audio from the BWC recordings.

       The events of May 25, 2020, were documented in police, bystander, and business

video recordings.    Defendants have already agreed in principle that several original

recordings should be admitted at trial. 12 While relevant, each of those recordings has its



12
  During pretrial discussions on December 27, 2021, counsel for each of the defendants
conferred with the government (either by phone or in person) and agreed to the pre-
admission of several original recordings made on May 25, 2020. This includes several
separate BWC and bystander recordings, security video from two nearby businesses, as
well as video from a Minneapolis city security camera.


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own unique limitations and perspectives. For example, a video showing Mr. Floyd’s face

takes on greater significance when a juror can see the positions of the defendants and their

actions (or inactions) at the same time. As part of its obligation to demonstrate various

facts and circumstances to the jury, the government has generated synchronized exhibits.

These exhibits consist of two original videos synched up to the same moment in time, that

play side-by-side, with the audio from one of them. This is the modern equivalent to

playing each exhibit on two TVs set up next to each other and muting one TV while playing

the audio on the other. Other than a caption indicating the source of the video, these

exhibits contain no enhancements, manipulations, or alterations of the original media. 13

They are simply two videos playing at the same time.

       These synchronized exhibits show the same events, but from different camera (and

at times audio) perspectives at the same time, like any security system in a home, bank, or

business. These exhibits will facilitate the jury’s understanding of the events at issue

while avoiding undue delay and cumulative presentment of evidence.           They will be

particularly helpful to the jury here, as they will make the relevance of statements and

actions immediately apparent without flipping back and forth between video clips or

remembering multiple timestamps.

       Media exhibits of various types have long been a part of trial presentment in federal

court. See e.g., United States v. Ruiz, 446 F.3d 762, 771 (8th Cir. 2006) (finding video



13
  If necessary, the government will begin its presentment with a foundational witness who
will demonstrate that the combined exhibits are merely shorter, synchronized versions of
the video exhibits to which defendants are stipulating.

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compilations from drug sting “more helpful to the jury by making it easier for them to see

the government’s evidence against each defendant individually”); United States v.

Logwood, 853 Fed. App’x 47, 48 (8th Cir. 2021) (affirming use of two sets of

“asynchronous” video recordings during drug conspiracy and distribution trial); Gibbs v.

Borona, No. 3:16-cv-00635 (JAM), 2021 WL 4726519, *3-4 (D. Conn. Oct. 11, 2021)

(denying motion to preclude admission of separate 911 call that was synchronized to three-

camera video during excessive force trial).

       Nonetheless, defendant Kueng moves the Court for an order preventing the jury

from considering synchronized exhibits, particularly any bystander recordings playing

alongside body worn camera (BWC) recordings. Doc. 156 at 4. First, although he

describes the videos as “spliced and manipulated,” they are neither, and Kueng provides

no explanation for his characterization.      The exhibits merely play video and audio

recordings simultaneously. They will significantly reduce the amount of time it will take

to describe these events to the jury. Moreover, they will permit the jury to see what

happened at certain crucial moments, as well as events over the course of time.

       Second, Kueng claims that playing the audio from only one of the videos while

playing two videos side-by-side is unfairly prejudicial. This argument is unavailing

because the exhibits identify which of the two side-by-side videos is the source of the audio.

These concerns should be further assuaged by the government’s proposed exhibits

themselves: the government will also introduce each of the original video recordings

contained in the synchronized exhibits as separate exhibits, and containing their original

audio, if any. Citing Federal Rule of Evidence 403, Kueng contends such exhibits would


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“unfairly lead[] the jury to conclude that officers were able to perceive facts, sounds, and

events that were not available to the officers at the scene[]” and therefore are impermissibly

suggestive.   Id.   Kueng’s contention would artificially limit the government from

presenting its case. The jury’s challenge is determining what occurred, not merely what

was seen or heard from the perspective of any defendant alone. Providing the jury with

two contemporaneous perspectives (both audio and video) will help with that

determination. Additionally, since the exhibit itself identifies the audio source, there is

little likelihood the jurors, based on their own life experience, will mistakenly believe that

the audio from one video demonstrates that a defendant standing a few feet away would

necessarily have heard the exact same sounds. Defendant’s claims go at best to the weight

of certain video/audio combinations, and are appropriate fodder for cross-examination—

not for the exclusion of relevant and helpful evidence.

        Relevant evidence should be excluded under Rule 403 only if the challenged

exhibit’s probative value is substantially outweighed by unfair prejudice. Farrington, 499

F.3d 854, 859 (“Evidence is not unfairly prejudicial because it tends to prove guilt, but

because it tends to encourage the jury to find guilt from improper reasoning. Whether

there was unfair prejudice depends on whether there was an undue tendency to suggest

decision on an improper basis.”) (emphasis added). Here, the synchronized video will not

be unfairly prejudicial because the government will not argue that defendant Kueng could

hear or see every circumstance from the perspective of every video, and counsel for

defendant Kueng will be able to argue that he could not.              Instead, the proposed




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synchronized exhibits will substantially facilitate presentment of this case, likely for all

parties.

       Finally, any concern regarding the content of any synchronized media exhibits may

readily be addressed through a limiting instruction. United States v. Clark, 668 F.3d 568,

575 (8th Cir. 2012) (finding that trial court “further reduced any potential for unfair

prejudice by giving an appropriate limiting instruction”); see also United States v. Oaks,

606 F.3d 530, 539 n. 2 (8th Cir. 2010) (noting reluctance to find evidence was unfairly

prejudicial when the trial court gave an appropriate limiting instruction).

       Accordingly, the government respectfully requests the Court deny defendant

Kueng’s fifth in limine motion to preclude combined video exhibits.

       I.   Motion in Limine To Limit Expert Testimony to Area of Expertise: ECF
            No. 159 (Thao).

       Defendant Thao moves the Court for an order limiting the testimony of expert

witnesses to their areas of expertise. The government has no objection to this motion, and

does not intend to elicit testimony from expert witnesses outside their areas of expertise.

Although the government has no objection to this motion, the government respectfully

requests that any order the Court issues on this subject apply to both government and

defense witnesses.

       J. Motion in Limine To Admit Impeachment Evidence: ECF No. 160 (Thao).

       Defendant Thao moves to admit certain impeachment evidence against Minneapolis

Police Department Lieutenant Johnny Mercil.         Without conceding that the proposed




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impeachment would be relevant, let alone proper, the motion is moot because the

government does not intend to call Lieutenant Mercil as a witness.

       K. Motion in Limine To Prohibit Asking Witnesses Questions Regarding
          Their Emotional Response: ECF No. 161 (Thao).

       Defendant Thao moves the Court in limine for an order preventing the government

from asking witnesses questions “regarding their emotional response to watching the

incident—or videos of the incident.” ECF No. 161 at 1. Defendant Thao claims “[s]uch

evidence is irrelevant and is designed to mislead and confuse the jury.” The government

objects to this motion as it is overly broad and contrary to the Federal Rules of Evidence.

       Although the government anticipates narrowly tailoring its questioning to avoid

improperly inflaming juror passions, this case involves the observed and recorded death of

a human being while in police custody. The allegations involve claims that the defendants

willfully deprived Mr. Floyd of certain basic rights. Determinations regarding police

conduct, reasonableness (under color of law), and willfulness, as well as assessing physical

evidence (itself laden with emotion-evoking content) will all be tasks before this jury.

       Regarding willfulness alone, the jury will be asked to determine the state of mind

of each of the defendants at the time of the alleged offenses. While final instructions are

not settled, the jury will most likely be instructed that willfulness, like other states of mind,

is often proved through circumstantial evidence and indirectly—i.e., through surrounding

circumstances, including any facts or circumstances that shed light on what was going on

in each of their minds. See, e.g., Screws v. United States, 325 U.S. 91, 107 (1945) (“[I]n

determining whether [willfulness] was present the jury would be entitled to consider all the



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attendant circumstance—the malice of petitioners, the weapons used in the assault, is

character and duration, the provocation, if any, and the like.”); Williams v. United States,

341 U.S. 97, 102 n.* (1951) (reciting with approval the court’s instructions that in

determining willfulness, the jury was “‘entitled to consider all the attendant

circumstances’”). Witness observations and assessments of what a defendant did or failed

to do, and the manner and duration of each of the defendant’s acts or omissions, are entirely

relevant to the jury’s determination of the state of mind of each the defendants. See id.

That civilian eyewitnesses recognized the wrongfulness of the force and the serious

medical need of Mr. Floyd sheds light on whether trained police officers recognized the

same.     Furthermore, those observations and assessments may inherently include

emotion—particularly as some of the witnesses watched a man die in front of them over

the course of minutes.

        The Federal Rules of Evidence are rules of inclusion. The Rules specifically permit

the inclusion of relevant evidence, namely any information that “has any tendency to make

a fact more or less probable than it would be without the evidence.” See Fed. R. Evid.

402, 401. While defendant Thao may prefer that such evidence not be before the jury, an

eyewitness’s response to watching the recorded events of May 25, 2020—emotional or

otherwise—is entirely relevant to the jury’s obligation to ascertain the defendant’s state of

mind, as described above. In particular, that bystanders watched the events and had an

emotional reaction to what they saw is relevant circumstantial evidence of both the

obviousness of Mr. Floyd’s serious medical need and the defendants’ willfulness in




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choosing not to reposition or otherwise aid Mr. Floyd. Such evidence could not mislead

or confuse the jury. To the contrary, such evidence is highly probative.

      Finally, defendant Thao may assert as a theory of defense that he was dealing with

a “hostile crowd.” By filing this motion, defendant Thao would characterize the bystander

witnesses as “hostile” without allowing them to testify about why they acted as they did,

including their emotional response to his acts and omissions. It would remove basic facts

from the jury’s consideration, damaging the jury’s ability to assess the circumstances.

While the government will narrow its questioning as necessary, this evidence is relevant

and probative, and it is not unfairly prejudicial given the facts of this case. Defendant

Thao’s blanket demand, if granted, would undermine the jury’s fact-finding process.

Accordingly, this motion should be denied.

       L. Motion in Limine To Prohibit Wearing Clothing Designed To Confuse the
          Jury: ECF No. 162 (Thao).

       Defendant Thao moves the Court for an order prohibiting witnesses from wearing

an outfit or garment that improperly persuades, confuses, or biases the jury. In support of

the argument, defendant Thao refers to two witnesses from the trial in State of Minnesota

v. Derek Chauvin, No. 27-CR-20-12646—G.H., who wore her firefighter uniform, and

D.W., who wore an undershirt with the words “Black Excellence” partially visible.

Citing no rule or case law, defendant Thao argues that G.H.’s clothing could confuse the

jury because she was testifying as a lay/eyewitness and that D.W.’s shirt could “improperly

confuse the jury as to the issues of the case.” ECF No. 162 at 1-2.




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       The government located one case reviewing a district order’s order regarding

witness apparel at trial. In United States v. Perkins, 287 F. App’x 342, 345 (5th Cir. 2008),

the defendants participated in a scheme to steal personal information and apply for auto

loans in the names of soldiers at Fort Polk, Louisiana. One of the defendants called a

witness who had been stationed at Fort Polk at the time of the offense to testify about

interactions between some of the conspirators; at the time of the trial, the witness was a

law enforcement officer. Id. at 350. The district court did not allow the witness to testify

in his uniform, “characterizing it as an impermissible enhancement of his credibility” in

violation of Federal Rule of Evidence 608. Id. The Fifth Circuit held that the district

court did not abuse its discretion because defense counsel did not ask the witness about his

employment as a police officer and the defendant could point to no prejudice. Id.

       The distinctions between Perkins and this case are clear. In that case, it does not

appear that the witness was a police officer at the time of the events he was testifying about,

and the subject of him being a police officer was never raised at trial; consequently, there

was no connection at all between the witness’s testimony and his status as a police officer.

Here, G.H. clearly identified herself as a firefighter on the scene when offering to provide

medical assistance to Mr. Floyd, and those statements will be played for the jury at trial

before G.H. testifies.    The jury will know she is a firefighter, and any credibility

enhancement based on her status as a firefighter will exist whether or not she wears her

uniform. Additionally, unlike the witness in Perkins, she will be testifying about her

training and experience as a firefighter on direct examination to explain her perception of

the events of May 25, 2020. Defendant Thao’s motion as to G.H. should be denied.


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        With respect to Defendant Thao’s concern regarding a witness wearing a “Black

Excellence” shirt underneath another shirt in State of Minnesota v. Derek Chauvin, No. 27-

CR-20-12646, the government will ask lay witnesses to wear attire that does not contain

slogans or messages.

        M. Motion in Limine To Extend Time to File Additional Motions in Limine:
           ECF No. 163 (Thao).

        Defendant Thao moves the Court for an extension of time to file in limine motions

after the government’s exhibit disclosure. 14 The government does not object to defendant

Thao’s request so long as any subsequently filed in limine motion is narrowly tailored to

the government’s proposed exhibits. Additionally, the government similarly requests that

this Court allow the government to file potential in limine motions after its receipt of

defendants Thao, Kueng, and Lane’s proposed exhibit and witness lists.

     N. Motion in Limine To Prohibit the Government from Calling J.R.: ECF No. 168
        (Lane).

        Defendant Lane moves to exclude the testimony of 10-year-old J.R., arguing she

“adds nothing to the United States’ case but will be called merely to invoke sympathy and

is cumulative evidence and a waste of time.” ECF No. 168 at 1 (citing Fed. R. Evid. 403).

J.R., who was 9 years old at the time of the incident giving rise to this case, was standing

on the curb in front of Cup Foods and witnessed the events leading up to Mr. Floyd’s death

while he was restrained by law enforcement officers. Defendant Lane cites no case law




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  The current deadline for filing in limine motions passed on December 30, 2021. See
ECF No. 137.

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for the proposition that the testimony of a minor eyewitness should be excluded because

of the inherently prejudicial nature of such testimony.

       To prove Count 3, the government will be required to prove beyond a reasonable

doubt at trial that Mr. Floyd had an objectively serious medical need, meaning one that is

so obvious that even people with no formal medical training would recognize that care is

required. See Jones v. Minn. Dep’t. of Corr., 512 F.3d 478, 481 (8th Cir. 2008) (“An

objectively serious medical need is one that either has been diagnosed by a physician as

requiring treatment, or is so obvious that even a layperson would easily recognize” it)

(internal quotation marks omitted). The government anticipates J.R. will testify, as she

did during the trial of State of Minnesota v. Derek Chauvin, No. 27-CR-20-12646, that she

could see Chauvin was stopping Mr. Floyd’s breathing and hurting Mr. Floyd. See ECF

No. 168-1 at 7. Certainly the fact that a 9-year-old child could recognize Mr. Floyd’s

serious medical need is relevant and convincing evidence to prove the objectively serious

medical need required by Count 3. The probative value of this evidence outweighs any

prejudicial value. See Fed. R. Evid. 403.

       Additionally, the government anticipates one of the defenses advanced at trial (if

not by defendant Lane, by other defendants) will be that the defendants were unable to

intervene in Chauvin’s unreasonable use of force or to provide medical aid because of a

“hostile” group of people gathered on the curb. J.R. was one of those individuals gathered

on the curb. The government anticipates J.R. will testify she was not scared of the other

people standing on the curb with her.




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       As noted in the Government’s Trial Brief, the government intends to call some, but

not all, of the “bystander witnesses.” ECF. No. 180 at 16. At least six minors witnessed

Mr. Floyd’s restraint and the events that led up to his death, and the government does not

intend to call all of them as witnesses at trial. The fact that the defendants committed this

offense in front of minors should not prevent the government from calling eyewitnesses to

the offense at trial.

                                     III. Conclusion

       WHEREFORE, the government respectfully asks this Honorable Court to enter

Orders consistent with the government’s responses.


Dated: January 10, 2022                    Respectfully submitted,



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